             Case 3:12-cr-04578-CAB                       Document 95                 Filed 03/29/13             PageID.216              Page 1 of 2


      'AO 245B (CASD) (Rev.1I12) Judgment in a Criminal Case                                                           FILED
                Sheet 1



                                               UNITED STATES DISTRICT
                                                   SOUTHERN DISTRICT OF CALIFO
                     UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                         v.                                          (For Offenses Committed On or After November 1, 1987)

                    RODRIGO CEBRIAN~CRUCES (2)                                       Case Number: 12CR4578-CAB
                                                                                     BENJAMIN L. COLEMAN
                                                                                     Defendant's Attorney
     REGISTRATION NO. 35293298

     D
     THE DEFENDANT:
     181 pleaded gUilty to count(s) ONE (l) OF THE ONE-COUNT SUPERSEDING INFORMATlON
     D     was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guil ty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             Number{s)
8 USC 1324(a)(2){B)(iii);             BRINGING IN ILLEGAL ALIENS WITHOUT PRESENTATION;                                                              1
18 USC 2                              AIDING AND ABETTING




        The defendant is sentenced as provided in pages 2 through                2          of this judgment. The sentence is imposed pursuant
  o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)

  181 Count(s) OF THE UNDERLYTNG INDICTMENT -----------------------------
                                                   is Dare 181 dismissed on the motion of the United States.
  181 Assessment: $100.00

  181 No fine                                         D Forfeiture pursuant to order filed                                      , included herein.
                                                                                                  ---------
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid, If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                              HON.
                                                                              UNITED STA TES DISTRICT runGE



                                                                                                                                               12CR4578-CAB
        Case 3:12-cr-04578-CAB                      Document 95            Filed 03/29/13     PageID.217            Page 2 of 2


AD 245B (CASD) (Rev. 1112) Judgment in a Criminal Case
           Sheet 2 Imprisonment

                                                                                              Judgment - Page _ _2 _ of      2
 DEFENDANT: RODRIGO CEBRIAN-CRUCES (2)
 CASE NUMBER: 12CR457S-CAB
                                                           IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
        18 MONTHS.




    o    Sentence imposed pursuant to Title 8 USC Section I 326(b).
    o   The court makes the following recommendations to the Bureau ofPrisons:




    o   The defendant is remanded to the custody of the United States Marshal.

    o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.      Op.m.         on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o   The defendartt shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        -------------------------------------------------------------------------
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.


                                                                RETURN

 I have executed this judgment as follows:

        Defendant delivered on                                                    to

 at ___________________ , with a certified copy of this judgment.


                                                                                            UNITED STATES MARSHAL


                                                                      By ________~~~~~~~~~~----------
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                     12CR457S-CAB
